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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

Eric Hammond,                       )
                                    )
            Plaintiff,              )
                                    )
      vs.                           ) Case No.: 1:20-cv-2418
                                    )
LVNV Funding, LLC,                  )
                                    )
            Defendant.              )
____________________________________)_________________________________________

         COMPLAINT SEEKING DAMAGES FOR VIOLATION OF
           THE FAIR DEBT COLLECTION PRACTICES ACT

                                           Introduction

   1. This is an action for actual and statutory damages, legal fees and costs pursuant to the Fair
      Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq (hereinafter referred to as the
      “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair
      practices. Id.

   2. The purpose of the FDCPA is to eliminate abusive debt collection practices by debt
      collectors, to insure that those debt collectors who refrain from using abusive debt
      collection practices are not competitively disadvantaged, and to promote consistent State
      action to protect consumers against debt collection abuses. Id.

   3. If a violation occurs, “the FDCPA is a strict liability statute that makes debt collectors
      liable for violations that are not knowing or intentional.” Donohue v. Quick Collect, Inc.,
      592 F.3d 1027, 1030 (9th Cir. 2010).

   4. Even a single violation of the FDCPA is sufficient to support liability. Taylor vs. Perrin,
      Landry, deLaunay, & Durand, 103 F.3d 1232, 1238 (5th Cir. 1997).

                                            Jurisdiction

   5. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
      1692k(d).

                                               Venue

   6. Venue is proper in this Judicial District

   7. The acts and transactions alleged herein occurred in this Judicial District.

   8. The Plaintiff resides in this Judicial District.

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  9. The Defendant transacts business in this Judicial District.

                                              Parties

  10. The Plaintiff, Eric Hammond, is a natural person.

  11. The Plaintiff is a “consumer” as that term is defined by § 1692a.

  12. The Plaintiff is “any person” as that term is used in 15 U.S.C. § 1692d preface.

  13. The Defendant, LVNV Funding, LLC (hereinafter referred to as “Defendant”), is a debt
      collection agency and/or debt purchaser operating from an address at 6801 S. Cimarron
      Road, Suite 424-J, Las Vegas, NV 89113. See Exhibit “1” attached hereto.

  14. The Defendant is a debt collection agency, but the Defendant is not licensed by the State
      of Indiana. See Exhibit “1” attached hereto.

  15. Defendant regularly attempts to collect, directly or indirectly, debts owed or due or asserted
      to be owed or due another.

  16. The Defendant regularly collects or attempts to collect, directly or indirectly, debts owed
      or due or asserted to be owed or due another that arose out of transactions in which the
      money, property or services which are the subject of the transactions are primarily for
      personal, family or household purposes.

                                         Factual Allegations

  17. The Defendant is a debt collection agency attempting to collect a debt from Plaintiff.

  18. The Plaintiff incurred a debt to that was for primarily for personal, family or household
      purposes as defined by §1692(a)(5).

  19. The debt owed by Plaintiff went into default.

  20. After the debt went into default the debt was placed or otherwise transferred to the
      Defendant for collection.

  21. The Plaintiff disputes the debt.

  22. The Plaintiff requests that the Defendant cease all further communication on the debt.

  23. The Defendant’s collector(s) were employee(s) and/or representative(s) of the Defendant
      at all times mentioned herein.

  24. The Defendant acted at all times mentioned herein through its employee(s) and/or
      representative(s) and/or agent(s).




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  25. The Plaintiff retained John Steinkamp & Associates for legal representation regarding the
      Plaintiff’s debts.

  26. Prior to August 19, 2020, the Defendant, through it’s agent, Credit Control, LLC, had been
      attempting to collect a debt from Plaintiff.

  27. On August 19, 2020, the Plaintiff’s legal counsel sent a letter to the Defendant via the U.S.
      Postal Service. This letter notified the Defendant that the Plaintiff had retained legal
      counsel and provided Defendant with contact information for said counsel. See Exhibit “2”
      attached hereto.

  28. On August 21, 2020, Plaintiff’s legal counsel sent another letter to Defendant. This letter
      identified Plaintiff’s legal counsel and provided Defendant with contact information for
      said counsel. See Exhibit “2” attached hereto.

  29. Upon information and belief, Defendant received the aforementioned letter. The law
      presumes timely delivery of a properly addressed piece of mail. Bobbit v. Freeman Cos.,
      268 F.3d 535, 538 (7th Cir. 2001); see also Hayes v. Potter, 310 F.3d 979, 982 (7th Cir.
      2002) (“We will generally presume timely delivery of properly addressed mail”).

  30. Despite this notice of legal representation, on or around September 15, 2020, the
      Defendant, through it’s agent, Credit Control, LLC, called Plaintiff’s cell phone numerous
      times in an attempt to collect a debt. See Exhibit “3” attached hereto.

  31. Defendant’s violations of the FDCPA were material because, although Plaintiff had been
      informed by counsel and reasonably believed that he had the protection against being
      contacted directly by debt collectors, Defendant’s continued collection communications
      would make the unsophisticated consumer believe that his notice of legal representation
      had been futile and that he did not have the rights Congress had granted him under the
      FDCPA.

  32. By having its agent contact a consumer it knew to have legal representation, the
      Defendant violated the FDCPA.

  33. Plaintiff’s injuries constitute an injury-in-fact. Defendant’s violations are material as the
      unsophisticated consumer, who has retained counsel to represent her regarding the debt at
      issue in this matter, would be left with the impression that retaining legal counsel was
      futile and that she did not have the rights Congress granted to her under the FDCPA.
      Defendant’s violations of the FDCPA constitute more than just bare procedural
      violations.

  34. The Defendant’s collection communications are to be interpreted under the
      “unsophisticated consumer” standard. See Gammon vs. GC Services, Ltd. Partnership,
      27 F.3d 1254, 1257 (7th Cir. 1994).




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                                   First Claim for Relief:
                                  Violation of the FDCPA

  1. The allegations of Paragraphs 1 through 34 of the complaint are realleged and incorporated
     herewith by references.

  2 The Defendant contacted a consumer it knew to be represented by legal counsel which
    constitutes a violation of 15 U.S.C. § 1692c.

  3 The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692d.

  4 The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692e.

  5 The Defendant’s acts and omissions constitute a violation of 15 U.S.C. § 1692f.

  6 As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff for actual
    damages, statutory damages of $1,000 per defendant, attorney fees, and costs.


                                      Prayer for Relief

     WHEREFORE, the Plaintiff prays that the Court grant the following:

     1. A finding that the Defendant violated the FDCPA and/or an admission from the
        Defendant that it violated the FDCPA.

     2. Actual damages under 15 U.S.C. § 1692k(a)(1).

     3. Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

     4. Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

     5. Such other and further relief as the Court deems just and proper.


     Respectfully submitted,

     /s/ John T. Steinkamp
     John T. Steinkamp
     John Steinkamp and Associates
     Attorney for Plaintiff
     5214 S. East Street, Suite D1
     Indianapolis, IN 46227
     Office: (317) 780-8300
     Fax: (317) 217-1320
     Email: john@johnsteinkampandassociates.com




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